      Case 2:08-cr-00562-WBS Document 432 Filed 12/11/15 Page 1 of 5



1    John Balazs, Bar. No. 157287
     Attorney At Law
2    916 2nd Street, Suite F
     Sacramento, California 95814
3    Telephone: (916) 447-9299
     Facsimile: (916) 557-1118
4    john@balazslaw.com
5    Attorney for Defendant
     JOSE ANTONIO OJEDA CABADA
6
7
8
9
                                            UNITED STATES DISTRICT COURT
10
                                        EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                          No. 2:08-CR-0562-06 WBS
13
                               Plaintiff,               STIPULATED MOTION UNDER 28 U.S.C.
14                                                      § 2255 AND PROPOSED ORDER
               v.
15
     JOSE ANTONIO OJEDA CABADA,
16                                                      Hon. William B. Shubb
                               Defendant.
17
18             Defendant, JOSE ANTONIO OJEDA CABADA, by and through his attorney, John
19   Balazs, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant
20   U.S. Attorney Jason Hitt, hereby stipulate that defendant’s sentence be set aside under 28 U.S.C.
21   § 2255 and that he be resentenced to a total term of 97 months imprisonment as follows:

22             1.        On November 5, 2010, defendant pled guilty to a single-count Superseding

23   Information charging him with being a deported alien found in the United States in violation of 8
     U.S.C. § 1326(a).
24
               2.        On December 9, 2010, a jury found defendant guilty of three counts in a
25
     Superseding Indictment: conspiracy to distribute and possess with intent to distribute cocaine,
26
     cocaine base, methamphetamine, and heroin in violation of 21 U.S.C. §§ 841(a)(1) and 846
27
     (count 1); possession with intent to distribute cocaine in violation of 21 U.S.C. §841(a)(1) (count
28
     3); and unlawful use of a communication facility in furtherance of a drug trafficking offense in
     Stipulated 2255 Motion and Order                    1
      Case 2:08-cr-00562-WBS Document 432 Filed 12/11/15 Page 2 of 5



1    violation of 21 U.S.C. § 843(b) (count 6).

2              3.        The presentence report calculated the applicable guideline range using the 2010

3    guidelines manual. The probation officer determined the total amount of drugs that defendant

4    was responsible for under relevant conduct principles was 14.89 kilograms of cocaine, 70.8
     grams of cocaine base, 128.4 grams of actual methamphetamine, and 474.5 grams of marijuana.
5
     Presentence Report (PSR), at 15, ¶49. Using the drug conversion ratio in U.S.S.G. § 2D1.1,
6
     comment. (n.10(D)), the report converted these amounts to 5,799 kilograms of marijuana, which
7
     resulted in a base offense level of 34. (The immigration offense had a base offense level of 8.
8
     Because it was more than 8 levels below the drug offenses, it did not “score” in calculating the
9
     defendant’s guideline range.) The report added 2 levels for a possession of a firearm and
10   subtracted 2 levels for defendant’s minor role in the offense. The report also determined that
11   defendant was entitled to a 3-level reduction under U.S.S.G. § 2D1.1(a)(5) because his offense
12   level was at least a level 34 and he received a mitigating role reduction.
13             4.        With a criminal history category I and a total offense level of 31, the applicable
14   guideline range was 108-135 months, except that the purported 120-month mandatory minimum

15   made the range 120-135 months. PSR, at 21, ¶84. On April 29, 2011, the district judge adopted

16   these guideline calculations and sentenced defendant to the bottom of this guideline range, 120
     months as follows: 120 months on counts one and three, 48 months on count six, and 24 months
17
     on the Superseding Information charge, all to be served concurrently for a total sentence of 120
18
     months.
19
               5.        In consolidated appeals, the Ninth Circuit affirmed defendant’s conviction and
20
     sentence, but vacated codefendant Jose Gonzalez Arias’s sentence on the ground that his 20-year
21
     mandatory minimum sentence violated Apprendi v. New Jersey, 530 U.S. 466, 490 (2000),
22   because the jury’s verdict established only a 5-year mandatory minimum instead of ten years
23   (before consideration of Arias’s prior drug felony conviction). See United States v. Ojeda
24   Cabada, et. al., No. 11-10227 (9th Cir. Nov. 26, 2014). Dist. court dkt. entry 389.
25             6.        Pursuant to the Ninth Circuit’s decision in this case, defendant Ojeda Cabada
26   hereby moves, and the parties so stipulate, to set aside his sentence under 28 U.S.C. § 2255 on

27   the ground that the jury’s verdict established only a 5-year mandatory minimum instead of ten

28   years under the Apprendi decision. This § 2255 motion is timely in that it is filed within 1-year

     Stipulated 2255 Motion and Order                      2
      Case 2:08-cr-00562-WBS Document 432 Filed 12/11/15 Page 3 of 5



1    from the date that defendant’s conviction became final, that is, February 14, 2015.

2              7.        The parties also stipulate that with the addition of Guideline Amendment 782,

3    defendant’s total offense level is now 30 as follows: a base offense level of 32 with respect to

4    5,799 kilograms of marijuana, plus 2 levels for possession of a firearm, minus 2 levels for
     defendant’s minor role in the offense, and minus 2 levels under U.S.S.G. § 2D1.1(a)(5)(i)
5
     because the offense level is at least 32 and he received a mitigating role reduction. With criminal
6
     history category I, defendant’s guideline range is now 97-121 months. The parties stipulate that a
7
     sentence at the low end of this range, or 97 months imprisonment, is a fair and appropriate
8
     sentence in light of all the sentencing factors set forth in 18 U.S.C. § 3553(a). The parties also
9
     stipulate that all other aspects of defendant’s sentence imposed on April 29, 2011 are to remain
10   the same.
11             8.        The parties further stipulate that defendant’s pending motion to reduce his
12   sentence under Amendment 782 and 18 U.S.C. § 3582(c)(2) (dkt. entry 409) should be denied as
13   moot if the Court approves this stipulation.
14             9.        Pursuant to Federal Rule of Criminal Procedure 43(c)(1)(B), defendant has been

15   advised of his right to be present and his right to allocute at resentencing. Defendant has

16   executed the attached waiver and knowingly and voluntarily waives these rights.
               It is so stipulated.
17
     Dated: December 11, 2015                          Dated: December 11, 2015
18
19
     BENJAMIN B. WAGNER
20   United States Attorney

21
      /s/ Jason Hitt                                    /s/John Balazs
22   JASON HITT                                        JOHN BALAZS
     Assistant U.S. Attorney
23
     Attorney for Plaintiff                            Attorney for Defendant
24   UNITED STATES OF AMERICA                          JOSE ANTONIO OJEDA CABADA

25
26
27
28

     Stipulated 2255 Motion and Order                     3
      Case 2:08-cr-00562-WBS Document 432 Filed 12/11/15 Page 4 of 5


                         VERIFICATION AND WAIVER OF APPEARANCE
1
               I, Jose Antonio Ojeda Cabada, consent to this motion to vacate, set aside, or correct my
2
3    sentence under 28 U.S.C. § 2255. I verify under penalty of perjury that it is true and correct.

4              I also knowingly and voluntarily waive any right I may have to be personally present and
5    my right to allocution at resentencing.
6
               Dated: December 11, 2015
7
                                                     /s/ Jose Antonio Ojeda Cabada
8                                                    Jose Antonio Ojeda Cabada
                                                     Defendant
9                                                    [authorized counsel to sign in 12/11/15
10                                                   prison legal call]

11
               I certify that I translated this document from English to Spanish by telephone at his
12
     attorney’s office.
13
14             Dated: December 11, 2015

15                                                   /s/ Cristina Scherer
                                                     Cristina Schererer
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulated 2255 Motion and Order                   4
      Case 2:08-cr-00562-WBS Document 432 Filed 12/11/15 Page 5 of 5



1                                                  ORDER
2              For good cause and the reasons set forth above, IT IS HEREBY ORDERED that
3    defendant Jose Antonio Ojeda Cabada’s stipulated motion to set aside his sentence under 28
4    U.S.C. § 2255 is GRANTED. The Court finds that defendant’s criminal history category is I, his
5    total offense level is now 30, and his applicable guideline range is 97-121 months. In light of the
6    guideline range and all the sentencing factors set forth in 18 U.S.C. § 3553(a), the Court finds
7    that a sentence of 97 months imprisonment is fair and appropriate in this case. The Court hereby
8    sentences defendant to 97 months on counts one and three, 48 months on count six, and 24
9    months on the charge in the Superseding Information, all to run concurrently, for a total sentence
10   of 97 months. All other aspects of the sentence imposed on April 29, 2011 are to remain the
11   same.
12             It is also ordered that defendant’s pending motion to reduce his sentence under 18 U.S.C.
13   § 3582(c)(2) is denied as moot and that the motion hearing on January 4, 2016 is vacated.
14             Dated: December 11, 2015
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulated 2255 Motion and Order                  5
